        Case
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Andrew G. Patel
Attorney-at-Law
80 Broad Street, Suite 1900
                                                                 MEMO ENDORSED
New York, New York 10004
Apatel@apatellaw.com                                             Telephone 212-349-0230

By ECF



                                       July 6, 2020



Lewis A. Kaplan
United States District Judge
United States Courthouse
500 Pearl Street
New York, NY 10007
                                 Re:   United States v. Adel Abdel Bary
                                       98 Cr. 1023 (LAK)

Dear Judge Kaplan:

       Mr. Bary has asked me to represent him on a motion for compassionate release.
 Accordingly, I respectfully request that Your Honor reappoint me pursuant to the
 Criminal Justice Act for that purpose nunc pro tunc to June 30, 2020.

                                       Respectfully submitted,


                                        /s/Andrew Patel
                                       Andrew G. Patel


cc:    All counsel (by ECF)
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Memorandum Endorsement                                 United States v. Barry, 98-cr-1023 (LAK)


               The motion is denied, without prejudice to the filing of a renewed motion
accompanied by a memorandum addressing the question of whether appointment for the purposes
of filing a compassionate release motion is authorized by the Criminal Justice Act (“CJA”) or the
Southern District of New York’s Plan for Appointment of Counsel under the CJA.

              SO ORDERED.

Dated:        July 8, 2020


                                                         /s/ Lewis A. Kaplan
                                              _________________________________________
                                                             Lewis A. Kaplan
                                                        United States District Judge
